         Case 1:17-cr-00548-PAC Document 422 Filed 07/31/20 Page 1 of 1

United States v. Joshua Schulte                                                    June 15, 2020
Hon. Paul A. Crotty                                                                  Page 1 of 1




                                                             July 30, 2020

By ECF and Email
                                                                         7-31-2020
Honorable Paul A. Crotty                                                 The August 3rd conference is
United States District Judge                                             adjourned to August 17, 2020
Southern District of New York                                            at 10:30 AM. SO ORDERED.
500 Pearl Street
New York, New York 10007

Re:    United States v. Joshua Adam Schulte, 17 Cr. 548 (PAC)

Dear Judge Crotty:

With consent of the government we write to seek a two week adjournment of the August 3rd,
2020, status conference. Counsel for the defense is working on several issues including
addressing the issues raised by a White Plains grand jury hearing evidence that led to the
superseding indictment against Mr. Schulte. Additionally, the defense is still trying to assemble a
defense team. Dr. Bellovin who is 78-years old, declines to undertake the risk associated with
returning to New York City.

We understand that the Chief Judge for the Southern District of New York has or is preparing a
protocol for prioritizing and scheduling jury trials and it remains uncertain as to how trials are
being scheduled. While the government has stated it is trial ready on this case, the defense faces
different challenges. Given the due process concerns these issues raise, we are not able to tell the
court when we will be ready for trial.

       We thank the court for its time and consideration.



                                      Respectfully submitted,

                                      /s/
                                      Edward S. Zas, Sabrina P. Shroff, Deborah A. Colson
                                      Counsel for Joshua A. Schulte
